Case 1:21-cv-01594-GBW Document 124 Filed 10/18/22 Page 1 of 1 PageID #: 2610


                           MORRIS, NICHOLS, ARSHT            &   TUNNELL     LLP

                                       1201 N ORTH M ARKET S TREET
                                              P.O. B OX 1347
                                   W ILMINGTON , D ELAWARE 19899-1347

                                               302 658 9200
                                             302 658 3989 F AX
JEREMY A. TIGAN
(302) 351-9106
jtigan@morrisnichols.com



                                             October 18, 2022



The Honorable Gregory B. Williams                                       VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
844 North King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

                    Re:      Jazz Pharms., Inc. v. Avadel CNS Pharms., LLC
                             C. A. Nos. 21-691, 21-1138, 21-1594 (GBW)

Dear Judge Williams:

        Briefing on Jazz’s Motion to Strike Avadel’s Second Supplemental Response to
Interrogatory No. 8 is now complete (C.A. No. 21-691, D.I. 175, 176, 189, 191). Accordingly, the
parties jointly request a teleconference to address the motion at the Court’s convenience.

                                                 Respectfully,

                                                 /s/ Jeremy A. Tigan

                                                 Jeremy A. Tigan (#5239)

JAT:lo
cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via CM/ECF and e-mail)
